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UNITED STATES DISTRICT COURT                                             DATE FILED: 1/12/2021
SOUTHERN DISTRICT OF NEW YORK
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 IN RE APPLICATION OF CBRE GLOBAL                               :
 INVESTORS (NL) B.V., CBRE DRET                                 :
 CUSTODIAN I B.V., CBRE DHC MAASTRICHT :                          20-MC-315 (VEC)
 (GROTE STAAT V) B.V., AND CBRE DHC DEN :
 HAAG (GROTE MARKSTRAAT V) B.V.;                                :     ORDER
                                                                :
                                     Petitioners,               :
                                                                :
 For an Order Granting Leave to Issue Subpoenas                 :
 for Discovery in Aid of Foreign Proceedings                    :
 Pursuant to 28 U.S.C. § 1782.                                  :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on September 4, 2020, Petitioners filed a motion seeking leave to issue

subpoenas for discovery in aid of foreign proceedings pursuant to 28 U.S.C. § 1782 (Dkt. 1);

       WHEREAS on September 11, 2020, the Court granted Petitioners’ motion (Dkt. 8);

       WHEREAS on November 5, 2020, Respondents filed a motion to quash the subpoenas

and to vacate the Court’s September 11, 2020 Order (Dkt. 19);

       WHEREAS Respondents’ motion is now fully briefed; and

       WHEREAS both parties have requested oral argument on Respondents’ motion;

       IT IS HEREBY ORDERED THAT the parties must appear for oral argument on

Respondents’ motion on January 27, 2021, at 2:00 p.m. Oral argument will be conducted via

teleconference. The parties may dial-in to the proceeding using (888) 363-4749 // Access code:

3121171# // Security code: 0315#.


SO ORDERED.
                                                        ________________________
Date: January 12, 2021                                     VALERIE CAPRONI
      New York, New York                                 United States District Judge
